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WOTUS Determinations
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Determinations




To provide certainty, streamlining, and efficiency, DEP will consider that any wetlands or other surface waters delineated in
accordance with Chapter 62-340, F.A.C., that are regulated under Part IV of Chapter 373, F.S., could be considered Waters of
the United States (WOTUS), and will treat them as if they are, unless the applicant clearly demonstrates otherwise. WOTUS
determinations may take extra processing time. DEP highly encourages applicants to take advantage of the added
efficiency of accepting WOTUS jurisdiction over all wetlands and other surface waters onsite.
DEP will not be performing stand-alone WOTUS jurisdictional determinations. Instead, these three options are available to
applicants:
  1. Apply for a State 404 Program permit and specifically request that a WOTUS jurisdictional determination be completed
    during review of the permit application. Permit applications should contain all information required in the State 404
    Program application forms and documentation demonstrating which waters the applicant believes are not WOTUS
    pursuant to 40 C.F.R. 120.
  2. Apply for a formal determination under Chapter 62-340, F.A.C., and request that DEP perform a WOTUS jurisdictional
    determination with the formal determination. The petitioner should include documentation demonstrating which
    waters the applicant believes are not WOTUS pursuant to 40 C.F.R. 120, the petition form, and payment of the regular
    fee for a formal determination.
  3. If the project will not impact WOTUS, the applicant does not need to submit an application for a State 404 permit.
    However, if verification is required from DEP or if the project will impact non-WOTUS wetlands and the application is
    only for an Environmental Resource Permit (ERP), the applicant may apply for a State 404 “No Permit Required”
    verification, which should include information about the project footprint, the location of wetlands and other surface
    waters onsite delineated pursuant to Chapter 62-340, F.A.C., and documentation demonstrating which waters the
    applicant believes are not WOTUS pursuant to 40 C.F.R. 120, if applicable.

When applying for one of the three options above, the applicant should include a wetland delineation done in accordance
with Chapter 62-340, F.A.C., and the completed form “Information Required for a WOTUS Determination in State-assumed
Waters.”

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